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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                               NEWPORT NEWS DIVISION

  PATRICIA E. MULLINEX ,                               )
  Individually and as Executor of the                  )
  Estate of Herbert H. Mullinex, Jr.                   )
                                                       )
                        Plaintiff,                     )
  v.                                                   )      Case No. 4:18-cv-00033-RAJ-DEM
                                                       )
  JOHN CRANE, INC., et al.                             )
                                                       )
                        Defendants.                    )

          MEMORANDUM IN SUPPORT OF DEFENDANT JOHN CRANE INC.’S
             SUPPLEMENTAL MOTION FOR SUMMARY JUDGMENT

         In Plaintiffs’ words, this is a “quintessential maritime product liability action.” [ECF 130

  at 29.] This Court held – based on 50 years of Supreme Court precedent culminating in Dutra

  Group v. Batterton, 139 S. Ct. 2275 (2019) – that general maritime law does not allow for

  recovery by Plaintiffs of loss of consortium, punitive damages, or survival damages. Plaintiffs

  thus admit they have no other recoverable maritime damages. Without evidence to support this

  necessary element of their claim, JCI is entitled to summary judgment under Federal Rule of

  Civil Procedure (“FRCP”) 56.

                I. LOCAL RULE 56(b) STATEMENT OF UNDISPUTED FACTS

  1.     A little more than two years ago, Plaintiffs – opposing a motion by JCI to apply Virginia

  law, [ECF Nos. 124, 125] – asserted that general maritime law is “the substantive law applicable

  to this case.” [ECF No. 130 at 1] (first emphasis added). In doing so, Plaintiffs observed that

  “Mullinex was a sea-based maritime worker whose entire known exposure occurred on ships on

  navigable waters.”   [Id. at 2 n.2.]   Plaintiffs averred that “asbestos product liability cases
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  involving workers exposed on navigable waters, like this one, have been consistently found to

  arise under general maritime law.” [Id. at 2.]

  2.     Thus, according to Plaintiffs, not only is this suit “solely a maritime product liability

  lawsuit,” [ECF No. 130 at 21], it is the “quintessential maritime product liability action.” [Id. at

  29.] As such, “state law cannot be applied in any way that conflicts with established maritime

  law principles.” [Id. at 13-14 n.6.]

  3.     After considering the arguments of the parties, the Court held that the facts of this case

  “place[] the Plaintiffs’ allegations squarely in a context that interests admiralty law” and denied

  JCI’s motion. [ECF No. 154 at 7.]

  4.     As recently as five months ago, on January 13, 2022, Plaintiffs again averred that “[t]his

  is a general maritime case,” [ECF No. 452 ¶1], reasserting that the damages they sought were

  under maritime law. [Id. ¶¶5-6.] The jury instructions submitted by Plaintiffs less than one

  month ago likewise sought to instruct the jury solely as to maritime damages. [ECF No. 517 at

  38-39 and annotations cited therein.]

  5.     On October 5, 2021, the Magistrate Judge issued a Report and Recommendation

  (“R&R”) excluding Plaintiffs’ claims for loss of society and punitive damages. [ECF No. 351.]

  This Court affirmed the R&R on May 20, 2022. [ECF No. 533.]

  6.     On May 23, 2022, this Court granted JCI’s FRCP 12(b)(6) Motion to Dismiss Plaintiffs’

  claim for survival damages. [ECF No. 538.] As stated in its Memorandum Opinion of June 10,

  2022, “[t]he Court FINDS that Plaintiff is not entitled to recover Mr. Mullinex’s pre-death pain

  and suffering or medical expenses.” [ECF No. 544 at 1.]

  7.     As a result of these two rulings, during the hearing on May 24, 2022, Plaintiffs admitted

  their maritime claim “no longer has any damages that we can pursue.” [ECF No. 542 at 5:8-10;




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  see also id. at 7:16-17 (conceding that “all of the damages that we sought under maritime law

  have now been stricken”).]

  8.     During that same hearing, the Court granted leave to JCI to submit this supplemental

  Motion for Summary Judgment. [ECF No. 542 at 12:13-23.]

                                     II. LEGAL ARGUMENT

         Summary judgment should be granted if the pleadings, depositions, answers to

  interrogatories, and admissions on file, together with the affidavits or other materials in the

  record, if any, show that there is no genuine issue of any material fact and that the moving party

  is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). Once the moving party has met

  that burden, the nonmoving party must come forward with specific facts and demonstrate that

  such an issue does, in fact, exist. Bouchat v. Baltimore Ravens Football Club, Inc., 346 F.3d

  514, 522 (4th Cir. 2003). This Plaintiffs cannot do.

         This Court held – at Plaintiffs’ urging – that maritime law provides the rule of decision

  here. ECF No. 154 at 7. A maritime claim is one “which the Constitution has placed under

  national power to control in its substantive as well as its procedural features.” Pope & Talbot,

  Inc. v. Hawn, 346 U.S. 406, 409 (1953).         Thus, “[w]ith admiralty jurisdiction comes the

  application of substantive admiralty law.” E. River S.S. Corp. v. Transamerica Delaval, 476

  U.S. 858, 865 (1986). This means that “[f]ederal law, rather than state, is the more appropriate

  source of a remedy for violation of the federally imposed duties of maritime law.” Moragne v.

  States Marine Lines, Inc., 398 U.S. 375, 401 n.15 (1970). In so holding, the Supreme Court

  explained that application of a federal remedial scheme “will assure uniform vindication of

  federal policies, removing the tensions and discrepancies” that result when maritime courts try

  “to accommodate state remedial statutes” in federal maritime suits. Id. at 401.




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         In the wake of this Court’s holding that general maritime law controls, Plaintiffs concede

  they have no recoverable damages. Damages constitute a “necessary element of any tort claim

  under general maritime law.” Dziennik v. Sealift, Inc., 2009 U.S. Dist. LEXIS141398 at *20

  (E.D.N.Y. Apr. 1, 2009); accord 1 Thomas J. Schoenbaum, Admiralty and Maritime Law,

  General Maritime Law of Negligence §5-2 at 183-84 (West 4th ed. 2009) (claimant must prove

  elements of a negligence claim which includes damages). As such, summary judgment is

  appropriate because the undisputed evidence demonstrates there are no recoverable damages.

  McClain v. South Carolina Nat’l Bank, 105 F.3d 898, 901 (4th Cir. 1997) (damages an “essential

  element” whose absence warrants summary judgment). Because Plaintiffs admit they have no

  recoverable damages under general maritime law – the governing law in this case – JCI is

  entitled to summary judgment.

                                       III. CONCLUSION

         For the reasons set forth herein, JCI respectfully moves the Court for an Order awarding

  summary judgment in favor of JCI on all claims under Federal Rule of Civil Procedure 56.

  Dated: June 14, 2022

                                                      Respectfully submitted,
                                                      JOHN CRANE INC.
                                                      Defendant

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 14th day of June, 2022, a true and accurate copy of the

  foregoing was filed electronically using the CM/ECF system, which will then send a notification

  of such filing (NEF) to all counsel of record.

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